                     IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF ALASKA

 JENNIFER SPENCER, individually and     )
 on behalf of all those similarly situated,
                                        )
                                        )
               Plaintiff,               )
                                        )
 v.                                     )           Case No. 3:19-cv-00087-SLG
                                        )
 ADAM CRUM, in his official capacity as )
 Commissioner of the Alaska Department )
 of Health and Social Services, and     )
 SHAWNDA O'BRIEN, in her official       )
 capacity as Director of the Alaska     )
 Division of Public Assistance,         )
                                        )
               Defendants.              )


              STIPULATED SETTLEMENT AGREEMENT AND ORDER

       1.       Plaintiff Jennifer Spencer, on behalf of herself and all others similarly

situated, filed this class action lawsuit against Adam Crum, in his official capacity as

Commissioner of the State of Alaska, Department of Health and Social Services, and

Shawnda O’Brien, in her official capacity as Director of the State of Alaska, Department

of Health and Social Services, Division of Public Assistance (hereinafter collectively

referred to as “DHSS” or “Defendants”). Plaintiff filed the class action complaint in the

Superior Court of the State of Alaska on February 27, 2019, and Defendants removed it

to United States District Court, District of Alaska on March 29, 2019.



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       2.       Plaintiff alleged that DHSS was violating the Medicaid Act at 42 U.S.C.

§1396(a)(8) by not making timely decisions on initial applications for Medicaid. Plaintiff

sought to enforce her rights under 42 USC § 1983 by requesting declaratory and

injunctive relief against DHSS requiring it to make decisions on Medicaid eligibility

under certain timelines. Specifically, Plaintiff alleged that DHSS was not making

decisions on initial applications for Medicaid within the timeframes described in 42

C.F.R. § 435.912(c)(3) and 7 AAC 100.018(b).

       3.       Without admitting the Plaintiff’s contentions, DHSS has agreed to meet

certain timelines for processing initial applications for Medicaid eligibility. There are no

further legal issues the parties need to resolve. Plaintiff, by and through her counsel of

record, James J. Davis, Jr. and Goriune Dudukgian of the Northern Justice Project, LLC

and Defendants, by and through counsel, Assistant Attorney General Alexander

Hildebrand, have engaged in arms’ length negotiations and have reached an agreement to

settle all claims raised in the above-captioned matter pursuant to the terms below.

       WHEREFORE the Plaintiff, by and through the Northern Justice Project, LLC,

and Defendants, by and through the Office of the Attorney General, hereby stipulate and

agree as follows:

       A.       Eligibility Determinations. Under 42 U.S.C. § 1396a(a)(8) a state plan for

the administration of the Medicaid program must provide for an opportunity to apply for

medical assistance and that assistance shall be furnished with reasonable promptness to


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eligible individuals. Under federal policy at 42 C.F.R. § 435.912(c)(3), a determination

on eligibility for Medicaid shall be made within 90 days for applicants who apply for

Medicaid on the basis of disability and 45 days for other applicants for Medicaid. This

timeframe will be referred to as the “federal eligibility timeframe.” Under Alaska policy

at 7 AAC 100.018(a), a determination on eligibility shall be made within 90 days for

applicants who apply for Medicaid on the basis of disability and 30 days for other

applicants for Medicaid. This timeframe will be referred to as the “state eligibility

timeframe.” A determination of eligibility shall be considered to be made when a notice

is sent out to the applicant in accordance with the requirements of 7 AAC 100.018. A

notice of a determination on eligibility will include the type of notification required by 7

AAC 100.018(b), and will state at a minimum whether the individual has been found

eligible for Medicaid and if the individual is eligible, the date when eligibility begins. If

the federal or state laws establishing the federal or state eligibility timeframes change, the

parties understand that DHSS is not required to meet more stringent requirements than

those established by the changed law.

         B.   Substantial Compliance with Timeliness of Decisions. The parties agree

that in exchange for Plaintiff dismissing this lawsuit, DHSS will “substantially comply”

with the above requirements to make timely determinations of eligibility for Medicaid

applicants. “Substantial compliance” is defined in accordance with the terms described

below.


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              1.     DHSS agrees that by January 1, 2020, it will be making a

       determination of eligibility on initial Medicaid applications within the federal

       eligibility timeframe for at least 87% of applications submitted.

              2.     DHSS agrees that by the end of State Fiscal year 2020 (July 1,

       2020), it will be making a determination of eligibility on initial Medicaid

       applications within the federal eligibility timeframe for at least 92% of

       applications submitted.

              3.     DHSS further agrees that that by the end of State Fiscal year 2020

       (July 1, 2020), it will be making a determination of eligibility on initial Medicaid

       applications within the state eligibility timeframe for at least 87% of applications

       submitted.

              4.     DHSS agrees that by the end of calendar year 2020, it will be

       making a determination of eligibility on initial Medicaid applications within the

       state eligibility timeframe for at least 92% of applications submitted.

       The parties understand that DHSS’s ability to meet the above described eligibility

determination timeframes may be affected by unforeseen circumstances that would delay

or prevent DHSS from meeting these goals. If DHSS believes that unforeseen

circumstances will prevent it from meeting the eligibility determination goals in this

Section B, it will describe the unforeseen circumstances to Plaintiff’s counsel within a

reasonable time of learning of the unforeseen circumstances. In the event of such


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unforeseen circumstances, the parties agree to work together in good faith to come to an

agreement about modifying the eligibility determination timeframes described above in

this Section B. If the parties are unable to reach an agreement on the modification of the

timeframes, DHSS may file a motion with the Court to modify the timeframes in this

Section B of the agreement or may assert unforeseen circumstances as a defense to an

attempt by Plaintiff to enforce the timeframes in this agreement. Unforeseen

circumstances can include things such as a change in federal law, a change in

requirements from the Centers for Medicare & Medicaid Services (CMS), a change in

State law, a natural disaster, or a state or national emergency.

       C.     Reports. DHSS agrees that it will provide reports to Plaintiff’s counsel that

include the most recent final and preliminary statements of the percentage of initial

Medicaid applications that are being processed within the federal and state timelines,

including the rates for timely Medicaid eligibility determinations being reported to CMS.

DHSS will provide the first report on August 1, 2019, and will provide a report every two

months thereafter until the end of calendar year 2020. The DHSS reports will include the

most recent final and preliminary data available, but will likely not include numbers for

the month that has just concluded as that data may not yet be available.

       D.     Attorney’s Fees. DHSS agrees to reimburse Plaintiff’s counsel, the

Northern Justice Project, LLC, for reasonable attorney’s fees and costs incurred in

connection with this litigation. As of the execution of this settlement, Plaintiff estimates


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that its fees are approximately $16,500. Plaintiff will provide DHSS with itemized billing

records and a draft cost bill by August 5, 2019. DHSS will pay those fees and costs by

September 5, 2019, or thirty days after the Court signs off on this agreement, whichever

is later, unless it informs Plaintiff how or why those fees and costs are unreasonable or

improper. In that case, the Court will decide Plaintiff’s reasonable attorney’s fees and

costs.

         E.   Dismissal. The above-captioned case will be dismissed. The parties agree

that the court in this action will retain jurisdiction to enforce the settlement agreement. In

any dispute to enforce the settlement agreement, the parties will be entitled to costs and

fees as allowed by applicable federal and/or state law.

///

         DATED: August 5, 2019.



                                           Respectfully submitted,



                                           By: /s/Goriune Dudukgian
                                              Goriune Dudukgian
                                              James J. Davis, Jr.
                                              Northern Justice Project, LLC
                                              Attorneys for Plaintiff


                                           By: /s/ Alexander Hildebrand (with consent)
                                              Alexander Hildebrand
                                              Attorney General’s Office

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                                            State of Alaska Department of Law
                                            Attorneys for Defendants


IT IS SO ORDERED this 8th day of August, 2019.



/s/ Sharon L. Gleason
The Hon. Sharon L. Gleason
United States District Judge




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